                     Case 2:20-cr-00143-JCZ-MBN Document 19 Filed 01/05/21 Page 1 of 3
AO l99A (Rev. l2ll   I   )   Order Sening Conditions of Releasc                                                        Pagelof 3          Pages




                                             UmrBn SrerBS DrsrRrcr CoURT
                                                                             for the
                                                                  Eastern District of Louisiana



                         United States of America                                )
                                         v                                       )
      IDNALD ETER. ^$L[I{f,,                             *.                      )
                                                                                 )
                                                                                          Case No.
                                                                                                              rl-143 A
                                     Defendant                                   )

                                              ORDER SETTING CONDITIONS OF RELEASE

lT IS ORDERED that the defendant's release is subject to these conditions:

(l)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample                         if it is authorized by 42 U.S.C. $ l4l35a.

(3) The defendant must advise the court or the pretrial services office or supervising                       officer in writing before making
      any change ofresidence or telephone number.

(4) The defendant must appear in court as required                       and, ifQonvicted, must surrender as directed to serve a senteuce
      that the court may impose.

      The defendant must appear at:                                                    NEW                 LOUISIANA
                                                                                                   PIace




      on                                                                    WHEN ORDERED
                                                                                Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond,                        if ordered.
                                 Case 2:20-cr-00143-JCZ-MBN Document 19 Filed 01/05/21 Page 2 of 3

AO l99B (Rev. l2ll          l)   Additional Conditions of   Release                                                                                    Pagc2of3Pagcs
                                                              ADDITIONAL CONDITIONS OF RELEASE
       IT IS FURTHER ORDERED that the defendant's                        release is subject to the conditions marked below:


( ) (6)               Thc defendant is placed in the custody of:
                      Person or organization
                      Address (only if above is an organizotion)
                      City atrd state                                                                                            Tel. No.
who agrees to (a) supervisc the defendant, (b) use every effort to assurc the defendant's appearance at all court procecdings, and (c) noti& the court immediatcly
ifthe defcndant violates a condition ofrelease or is no longer ia the custodian's custody.

                                                                                          Siped:
                                                                                                                    Custodian                                       Dare

,x )        (7)       The defendant must:
        (x ) (a) submit to supcrvision by and report for supervision                       tio the
                                                                                                                                                                           5 {b)
                            tclephone number                                  ,   no latcr than
        (         )   (b)   contisue or actively seek eryloymeat.
        (   ) (c) continue or start an education orocram.
                                                   '
        (
          X ) (d) suncndcr any passport to:                  ?nLnhtl-,9.                    r't
        (   (
            ) (e) not obtain a passport or other  intcraational travel documenl
        (   x
            ) (0  abidc    the            restrictions  ou          association,                           or mvel:
                                                                                                .g
        tl..ltgl                    all         dirytly     or indirec{ly, with any             who   or      a   victim or wihess        the investigation or prosccution,
                            including:

        (x)G)r"?ffig}ari.                                   tr€afueEt:

        (         ) (D retumtocustodyeach                                 at-o'clockafterbeingreleasedat-o'clockforurrploymco|schooling,
                            or thc following purposes:

        (         )0)       rnaintrin rpsidence at a halfiilay house or community concrtiom center, as the pretrial sewices ofEce or zupervising officer considers
                            nqcess8ry.
        ( ()           (k) not poss€ss a fireann, desuuctive device, or other weaPon.
        (K)            0) notuse alcohol(        y )atdl(                ) excessively.
        (X)(m)              oot use or unlawfully possess a narcotic dnrg or other controlled substances defined in             2l   U.S.C. $ 802, unless prescribed by a liceirsed
                            rnedical pnctitioner.
        (*)(n)              submit  o testing for a prohibited substancc if required by the prerial services cffice or supewising ofEcer. Testing may be used with random
                            frequency and may include urine testing, 0re wearing of a sweat patch, a re:note alcohol testing sptem, and/or any form of prohibited
                            substance scre€ning or testing. The defendaot must not obstruct, attempt to obstruct, or tamper with the efEciency and accuracy ofprohibited
                            substance screening or testing.
        (X)(o)              participate in a prograrn of inpatiant or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                            supcruising officer.
        (         )(p)      participate in ooe of the following location rcstriction programs and comply with its requirements as directed.
                            ( )(i) Curfew.Youarerestrictcdtoyourresidenceeveryday( )from                                      to-,or(                      )as
                                     dirccted by the pretrial scrvices ofEce or supervising ofEceg or
                            ( ) (ii) Home Detendon. You are restricted to your residence at all tiroes except for employment; education; religious services; medical,
                                        substance abuse, or mental health fretnrent; attorney visits; court appeamtrces; court-ordered obligations; or other activities
                                        approved in advance by tbe prctrial services officc or zupervising officeq or
                            (   ) (iii) Homc [ncerccrrdon. You are resricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                        court appearances or other activities specifically approved by the court.
        (         )(q)      submit to location monioring as directed by the prerial services office or supervising officer and comply with all of the program
                            requirements and instructions provided.
                            (     ) You must pay all or part of the cost of the progam based on your ability to pay as determined by the pretrial services office or
                                     supervising officer.
            tX    I Al report as soon as possible, to the pretrial services ofhce or supervising ofEcer, every contact with law enforcement                   personnel, including
                            arrests, questioning, or traffic stops.
            (     )G)




@,.t.             oovERrmENT puBLrsHrrG oFFrcE 2or0-047-263
                             Case 2:20-cr-00143-JCZ-MBN Document 19 Filed 01/05/21 Page 3 of 3
      ,{i} -i^I'        ,Ilr, ,rr..lt^   {,1 ,,,   r ,l I'anJI:;. !
                                                                                                                                                                              I   rilr          il--     ,        3                 ['r,'c.
                                                                        ,\t'rYI('1..         ()]' ttE\At.r lt^$              \lit) s,t\L.n(lNs
      :r-) I l{l- I-)t:l.t-Nl r{NT

      l'{}l:,\l{1.,{li\':!tll)(tF'rHt lrlt -lt)ul\(,i,t\tuJtlr                                             \1...)\A)i(-t,t(r\r


     ,;:tirt   ..r.,,   r'rt.Il. J ilIlC. ilf t\)lJl


    r'iltr.FrtJu'yC tl.r.. :O Uiltlt,it: i(tt Ir!.In\ .rthr.t rtt,taitr \,.
                                                                       S    U:f\rt\r



    ,ir.: .,..':,llt, :ttitl\ IlL,,n: .,-.it,-,r,, r[:i,.-r :t.r. i..,, ;r .;, rr.i ,,t .!11..,[,
                                                                                                                e,J   i flit:f



                          t,:,t t:r,.irr tlr-r:t !]5ii.tJXt.11        1s1rr16., t..cJ   t it |l.{ tr,,,]!, li:.r:r lr. !r.;r:., r.r ir,tll

                          I.r,'tr !)r-rir i,!\rt.r.Ilt(.t       l]]rltt^r:.t,,1 t..r it,.!jir,If       ihl.i; :-_\: i(,Jr\ ru lxrll:

                'J        cllll.,.i*:;tt:.rr,rrr        !rtrt *rll tt;.lrt;!     r.r,trlurrrlri:rtili)ri.t'{l              ,.lirr,lrrri.rtr..(l ,rr\,,It(,,rt lhsirrrrc.}f,Jl.rt}rit}t
  :t,lrltt:'rrr t f.Ilitf,-' :r-.iillrl)t,ill r4 ,r,r:fnJtt             t..i.11 r-,..,,r1-   il.1i,., l, rir1r.;1,-,,1..g1,,     11.1r;11,..11.,

                                                                                .\   ckrur* hvlgmrnl rrf                 lhr Dcfendcnt




                                                                                                            Y
                                                                                                                                     ,.J           j i/t.^,t,tr:
                                                                                                                                                                          t   .f#-,      ".1
                                                                                                                                                                                            ,'.1                      !
                                                                                                                                                                                                                  '4...1
                                                                                                                                                                                                                          t.
                                                                                                                                                                                                                          r




                                                                                                           T             !'-t;, t)   L:   i       (
                                                                                                                                                "- r'i t-'
                                                                                                                                                    ,J,,,1,
                                                                                                                                                                      .       i.-r -                   'li\l:-
                                                                          l)irrclions to thr' I tuttr, Slatr,\ llarshal
                l .',i:,!ri.:rr,l.,l i! ( )R.i )l:R [.: i ] ;t:i, .rr,,l :rltr- i,J, n _....,,,.
               Tit..t:*rr, l\r.:t..-::;.rrllr,ri r.r-|RIrlHt[r:..i..."1.,,...-,lr:,_.tr.;.r.;.s I ,Jr
                                                                                                                         r.l,lrr tr,"rtr,.,.^', thC.                                   i rr                  rl                   ! ti.!:tili
               lr.:,.1...,.;.,1 fr,trJ,r;r.1,..,r .,rrrt.lir.l rri,.ll .rii,,t!:.: . .rr,l.t.,rit,                                                                                            ;11, I                          I
                                                                                                   l,,i,ii-lt,irri Il .trir ::i * ir.        tlii                                 ,t.'n( nt
               llii: .,p1':,,1rrt ti. .lu,:[i- ,ti i.hc :r-i,tj .rlr,l                                                                                                r
                                                                                                                                                                                                         Irl          rrl         ttl
                                                                       i,t,... ,,n(r:]lc..t


I'i.rrr,.                     _U5tzt

                                                                                                                  !:5       t)ls t Rlr'T           [lLil:,1 5                 tr|.\i-;lSTIr.           \l I lt,lX             i]-
                                                                                                                                                   i-::r   t,,,'   tf.*, r, : itr.rr




                                                                                                                                                                                          (;il )
